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                            UNITED STATES DISTRICT COURT—                     r.:           P
                            MIDDLE DISTRICT OF ALABAMA: (`                          •
                                 EASTERN DIVISION                                       p       23
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KEPRO ACQUISITIONS,INC.,                                                                        CL.K:
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                      PLAINTIFF,                           Civil Aettpn"Ncy.---             T L
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               v.                                             3;lq-cv
ANALYTICS HOLDINGS,LLC; HDI
SOLUTIONS,LLC; AND GUY R.
DIBENEDETTO,JR.;

                      DEFENDANTS.


                                        COMPLAINT

       Plaintiff KEPRO Acquisitions, Inc.("KEPRO")alleges the following as its Complaint

against Defendants Analytic Holdings, LLC,HDI Solutions, LLC,and Guy R. DiBenedetto:

                                      INTRODUCTION

   1. This is an action to recover damages for intentional fraud and civil conspiracy to commit

fraud in connection with a Securities Purchase Agreement(the "Agreemenr). Under the

Agreement, Plaintiff KEPRO Acquisitions, Inc. agreed to purchase from Defendant Analytics

Holdings, LLC the limited liability company Health Information Designs, LLC ("the

Company"). The Company's main products, representing almost 50% ofthe Company's

revenues, are RxExplorer® and RxPert®. These two products cannot function unless they are

provided access to a certain third-party database, the Progress OpenEdge database (the

"OpenEdge Database). To persuade KEPRO to purchase the Company, Defendants represented

that they held a sufficient number oflicenses to the OpenEdge Database to support the

Company's products and customers and that those licenses could be transferred to the Company

as part ofthe transaction. KEPRO has only recently learned (after the Agreement closed) that, in


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reality, Defendants did not own sufficient licenses and had historically accessed the OpenEdge

Database through deliberate misappropriation. As a direct result of Defendants' fraudulent

misrepresentations, KEPRO has been damaged in an amount in excess of$640,000, the amount

needed to obtain the required OpenEdge Database licenses.


                                             PARTIES

    2. Plaintiff KEPRO Acquisitions, Inc.("KEPRO")is a Pennsylvania corporation with its

principal place of business located at 777 East Park Drive, Harrisburg, PA 17111.

    3. Defendant Analytics Holdings, LLC ("Analytics Holdings")is a Delaware limited

liability company with its principal place of business located at 1550 Pumphrey Avenue Auburn,

AL 36832. Defendant DiBenedetto is the registered agent for Analytics Holdings.

    4. Defendant HDI Solutions, LLC (``HDI")is an Alabama limited liability company withits

principal place of business at 1550 Pumphrey Avenue Auburn, AL 36832. Defendant

DiBenedetto is also the registered agent for HDI.

    5. Defendant Guy R. DiBenedetto, Jr. rDiBenedetto" is an individual residing in this

District.

                                         JURISDICTION

    6. This Court has subject matter jurisdiction under 28 U.S.C. §1332(a).

    7. The Court has personal jurisdiction over Defendants Analytics Holdings and HDI inter

alia, because each of their respective principal places of business is in this District. The Court

has personal jurisdiction over the individual defendant DiBenedetto because he resides in this

District.




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                                              VENUE

   8. Venue is proper in this District because the parties' Agreement provides "any proceeding

arising out of or relating to this Agreement ... shall be brought only [in the state or federal courts

of Alabama]." Agreement § 9.4. Venue is proper in this District also because all Defendants are

residents ofthis District and because a substantial part of the events giving rise to the Complaint

occurred in this District.

                                  FACTUAL ALLEGATIONS

    A. The Securities Purchase Agreement

   9. Plaintiff KEPRO is a company offering products and web-based services for healthcare

management to reduce the utilization of health care resources and to optimize the quality of care

for public and commercial clients.

    10. On about June 12, 2018, Plaintiff KEPRO and Defendant Analytics Holdings entered into

a written Securities Agreement(the "Agreement") providing for Plaintiff KEPRO's purchase of

one of Analytics Holdings wholly-owned subsidiaries, namely, the limited liability company

Health Information Designs, LLC ("the Company"). A copy of the Agreement is attached as

Exhibit 1 to this Complaint. Copies of the Schedules and Exhibits to the Agreement are attached

as Exhibit 2 to this Complaint.

    11. The Company's business prior to being acquired by KEPRO involved the licensing of

three distinct products known as, respectfully, RxExplorer®, RxPert®, and PA Logic.

   12. The Company's RxExplorer® product and related services comprise a data collection and

processing application that assists governmental entities in their auditing of Medicaid pharmacy

and related medical claims data. RxExplorer® provides a pharmaceutical decision support

system, including desktop access to a Medicaid prescription claims database for patient profiling,



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provider (physician/pharmacist) profiling, and demographic analyses to assist in legally

mandated audits. The customers of RxExplorer® consist of various state Medicaid agencies.

    13. The Company's RxPert® product perfomis online prior authorization of pharmacy

prescriptions that will be reimbursed under Medicaid. The customers of RxPert also consist of

various state Medicaid agencies.

    14. The Company's PA Logic product offered prior authorization services similar to RxPert,

except that PA Logic was targeted primarily for use by non-governmental customers.

    15. Under the Agreement, the Company would divest itself of the Company's business

associated with the PA Logic product by transferring it before the closing to Defendant HDI

(another wholly-owned subsidiary of Analytics Holdings). The pre-closing transfer ofthe PA

Logic business from the Company to HDI was to be accomplished pursuant to the "Transfer,

Assignment, and Assumption Agreemenr attached to the Agreement as Exhibit 6.1(i).

    16. Thus, the parties intended for the Company to divest its PA Logic product line and to

retain the portions of the Company's business associated with the RxExplorer® and RxPert®

products.

    17. To enable their functions, it was absolutely essential that the RxExploter® product and

one version ofthe RxPert® product be provided access to a third-party database platform,

namely, the OpenEdge Database offered for licensing by the Progress Software Corporation

("Progress").

    18. Although HDI's business was not directly related to the Company's business, HDI

offered products that also required access to the OpenEdge Database. HDI purportedly owned

sufficient licenses from Progress authorizing it to access and use the OpenEdge Database to

support its products as well the products of the Company. Indeed, for many years prior to the



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Agreement, the Company's access to the OpenEdge Database for its RxPert® and RxExplorer®

products was made available to the Company solely by the licenses purportedly owned by HDI.

    19. Because access to the OpenEdge Database was essential to the functioning of the

Company's RxExplorer® and RxPert® product lines, and because the licenses to the OpenEdge

Database were purportedly owned by HDI,the Agreement provided that HDI would secure the

transfer of sufficient OpenEdge licenses to the Company to enable full use of the Company's

RxExplorer® and RxPert® products and services.

   20. The transfer of the OpenEdge Database licenses(as well as the transfer of numerous

other licenses owned by HDI but needed by the Company post-closing) was to be accomplished

pursuant to the "Transition Services Agreement," attached to the Agreement as Exhibit 6.1(j).

Pursuant to Appendix A-B to the Transition Services Agreement, HDI was to transfer to the

Company the licenses necessary for RxExplorer® and RxPert® to-access the OpenEdge

Database.

   21. The OpenEdge Database licenses were critical to the business ofthe Company. Without

access to the OpenEdge Database, the Company would not be able to continue providing its

RxExplorere at all, and its RxPert® product would be limited to one version of the product that

did not require access to the OpenEdge Database. Almost 50% of the Company's revenues were

derived from products and related services fundathentally dependent upon access to the

OpenEdge Database.

   B. Defendants finally disclose that thev lack the ability to transfer anv OpenEdge
      Database licenses to the Company

   22. The Agreement closed on about July 11, 2018. Plaintiff KEPRO paid Analytic Holdings

in accordance with the terms of the Agreement, and Analytic Holdings transferred its ownership

interest in the Company to KEPRO.


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   23. As of May 22, 2019, HDI continued to provide the Company with access to the

OpenEdge Database as it had done prior to the closing. However, it failed to transfer any

OpenEdge Database licenses to the Company as contemplated under the terms ofthe Agreement.

   24. Concerned about the status ofthe license transfer, KEPRO wrote a letter to HDI,

reminding it of its obligations under the Transition Services Agreement to transfer the OpenEdge

Database licenses to the Company. See Exhibit 3 to Complaint.

    25. On about May 31, 2019, HDI's attorney responded, asserting that HDI had tried "in good

faith" to transfer the licenses, that"HDI took all actions within its control to have the license

transferree but that "this process resulted in Progress stating that its license could not be

transferred to KEPRO/HID and that KEPRO/HID would need to secure its own license." HDI's

attorney also represented that"HDI believes the Progress licensure issue is a matter that should

cost approximately $50,000 or less to resolve." See Exhibit 4 to Complaint.


    C. KEPRO learns of Defendants' apparent misappropriation of the OpenEdge
       Database

   26. KEPRO subsequently learned that HDI initially licensed the right to access the OpenEdge

Database by purchasing licenses for use with a certain limited number of HDI customers. At

some point in time years ago, HDI became aware that it was possible to use the limited number

of licenses for a larger number of customers than authorized -- by essentially reinstalling the

OpenEdge Database software on multiple servers. This illegitimate technique enabled HDI to

violate the OpenEdge Database license agreement terms by improperly using the same license

for multiple customers.

   27. Without the knowledge or approval of Progress, HDI at some point years before the

Agreement began implementing this technique to use the OpenEdge Database for more than the



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authorized number of customers. Using this same technique, HDI also made available the

OpenEdge Database for use with the Company's customers. In other words, HDI was breaching

its license obligations with Progress by using the database beyond its authorized access rights to

serve its own customers and the customers ofthe Company.

    28. In 2017, Progress requested HDI to submit to an audit of its licenses and its access to the

OpenEdge Database. HDI refused to cooperate in the audit.

    29. Thereafter, Progress made repeated efforts to convince HDI to submit voluntarily to an

audit. HDI refused.

    30. By 2018, but before the Agreement was signed, and unbeknown to KEPRO,on

information and belief, Progress had become highly suspicious about HDI's use of the OpenEdge

Database and believed that HDI was intentionally breaching the OpenEdge Database license

agreement between HDI and Progress and misappropriating access to avoid full payment of

license fees owed to Progress. Progress repeated its request to participate in an audit. HDI

provided Progress with some limited information but still refused to participate in the requested

audit.

    31. Instead, after the Transition Services Agreement was signed Defendants went through the

entirely perfunctory exercise of"requestine Progress to transfer the licenses to the Company.

Unsurprisingly — given HDI's refusal to agree to an audit — Progress refused and pressed harder

for the audit. HDI provided Progress with certain limited information but HDI continued to

refuse an audit. At the same time HDI was refusing to participate in an audit with Progress,

Defendants were representing to KEPRO that HDI was trying in good faith to convince Progress

to transferthe licenses.




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    32. As noted above, Defendants finally acknowledged in its attorney's May 31,2019 letter

that none of its alleged licenses could be transferred to the Company.

D. Defendants' Control of the Company's Representations

    33. Prior to the closing the Company was a wholly-owned subsidiary of Analytics Holdings.

Defendant HDI was also a wholly-owned subsidiary of Analytics Holding. Analytics Holdings,

HDI, and the Company shared the same offices. Essentially all senior management of HDI was

shared by the Company. DiBenedetto served as the CEO of Analytic Holdings, the CEO of

Defendant HDI, and the CEO of the Company. DiBenedetto signed the Agreement, its related

papers, and all the representations contained therein in three purported capacities: as the CEO of

Analytics Holdings, as the CEO of HDI, and as CEO of the Company. It is therefore not

possible to distinguish the representations of the Company in the Agreement from the

representations of the Defendants in the Agreement.

    34. Although the Agreement contained various representations and warranties purporting to

be representations of"the Company," in reality, these representations were representations of

Defendants DiBenedetto, Analytics Holdings, and HDI. Any representation made by the

Company in the Agreement was in fact decided and controlled entirely by the Defendants.

    E. Defendants' Falsellepresentations in the Agreement

    35. Numerous of Defendants' factual representations in the Agreement were materially false.

    36. Defendants represented in Section 2.13(o) of the Agreement that "The Company has

sufficient rights to use all Technology, including Software, computer hardware, operating

systems, servers, middleware, databases, and systems, information technology equipment, and

associated documentation, used or held for use in connection with the operation of the Business

(the "IT Assets"), all of which rights will survive unchanged immediately after the


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consummation ofthe Transactions or which will be available under the Transition Services

Agreement."

    37. Defendants' representation in Section 2.13(o) was false when it was made because, in

reality, the Company did not have sufficient rights to use all Technology, and specifically, did

not have sufficient rights to access the critically important OpenEdge Database. Moreover,

directly contrary to Defendants' representation, the rights ofthe Company to access the

OpenEdge software could not possibly survive unchanged after the Transition Services

Agreement because, in reality, HDI had been misappropriating the OpenEdge Database from

Progress for years and did not own sufficient licenses that could be transferred to the Company.

It was not possible for HDI to make the licenses available to the Company under the Transition

Services Agreement, again, because, in reality HDI did not own sufficient licenses to make

licenses legally available to the Company via a license transfer. The falsity ofthe representation

in Section 2.13(o) was known to Defendants when it was made.

    38. Defendants further represented in Section 2.13(o)that "All IT Assets are owned or

licensed under valid licenses."(IT Assets was defined in Section 2.13(o) to include, inter alia,

software and databases used in connection with the operation ofthe Business.) That

representation was false when made because, in reality, neither the Company nor HDI held a

legally valid license to the OpenEdge Database sufficient to enable the Company to maintain its

RxExplorer® and RxPert® products. The falsity ofthis representation was also known to

Defendants when it was made.

    39. Defendants represented in Section 2.13(m)that "The Company has made available to

[KEPRO] all material information relating to any material problem with respect to any ofthe

Company Products that has not been resolved."



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    40. Defendants' representation in Section 2.13(m) was false when it was made because, in

reality, the Defendants had not made known to KEPRO the fact that HDI did not hold sufficient

licenses for the OpenEdge Database and instead was misappropriating its access and use.

Defendants had not made known to KEPRO the fact that Progress had been attempting to audit

HDI's use ofthe OpenEdge Database but that HDI has refused to participate in the audit. As

previously noted, this information was highly material, because legal and authorized access to

the OpenEdge Database was absolutely essential for two ofthe Company's products, namely

RxExplorer® and RxPert,® representing nearly 50% ofthe Company's revenues. Defendants

knowingly withheld this material information from KEPRO,and therefore knew ofthe falsity of

the representation in Section 2.13(m) when it was made.

    41. Defendants repeated these misrepresentations in a Closing Certificate signed on July 11,

2018 by DiBenedetto in two purported capacities: as the CEO of AH Holdings and also as CEO

of the Company. Defendants represented that "[t]he representations and warranties (i) ofthe

Company contained in ARTICLE II ofthe Agreement [including the representations under

§§ 2.13(m)and (o)] were true and correct in all material respects when made as of June 12,

2018." See Exhibit 5 to Complaint.

   42. Defendants' representations in the July 11, 2018 Closing Certificate were false when

made, because, as explained in detail above, Defendants' representations and warranties in

§§ 2.13(m)and (o)in Article II ofthe Agreement were in reality not true when made in the

Agreement, and Defendants knew they were false in the Agreement and knew they were still

false in the Closing Certificate.

   43. HDI fraudulently entered into the Transition Services Agreement, in which HDI agreed

to transfer OpenEdge Database licenses to the Company. HDI entered the agreement



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fraudulently because it did so with full knowledge that transferring licenses from HDI to the

Company would never be possible because HDI had never paid for sufficient licenses from

Progress. Defendants were unwilling to submit to an audit by Progress because they knew their

misconduct would be discovered by Progress.

   44. KEPRO reasonably relied upon Defendants' representations and Defendants expected

and knew that KEPRO would rely upon their representations. The Agreement provided that

KEPRO would purchase the Company from Analytics Holdings "[i]n reliance upon the

representations, warranties, covenants and agreements set forth herein...." KEPRO would not

have entered into the Agreement without Defendants' representations in the agreement, including

without limitation Defendants' representations in §§ 2.13(m)and (o). KEPRO would not have

closed the Agreement without Defendants' July 11, 2018 Closing Certificate.. Before HDI's

attorney's letter on May 29,2019; KEPRO had no reason to believe that it had been defrauded.

   45. With full knowledge that HDI held insufficient OpenEdge Database licenses to transfer to

the Company, Defendants nevertheless made the misrepresentations in Sections 2.13(m)and (o)

of the Agreement; entered into the Transition Services Agreement without the ability or the

intent to perform, and delivered the Closing Certificate repeating their prior misrepresentations.

   46. KEPRO has since learned from Progress that because of HDI's historical

misappropriation of the OpenEdge Database (rather than legally securing the requisite number of

licenses that could be transferred), KEPRO will be required to pay Progress at least $640,000 to

acquire new licenses needed to support its customers for RxExplorer® and RxPerta.

                                       COUNT I
                                   COMMON LAW FRAUD

   47. Plaintiff KEPRO incorporates by reference the allegations in paragraphs 1 — 46, above.
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   48. Defendants made the false representations of material facts on the specific dates and

times, and in the specific manner set forth in detail above.

   49. Defendants made such representations knowing they were false.

   50. To the extent such misrepresentations were purportedly made to KEPRO by the

Company, all Defendants participated in, controlled, and directed the Company to make such

misrepresentations with illicit intent, knowing that the Company's representations were material

and false.

   51. Defendants made the misrepresentations intending KEPRO to rely on them.

   52. KEPRO reasonably relied upon the Defendants and the Company's misrepresentations.

   53. As a direct and proximate result of Defendants' fraud, KEPRO suffered actual damages

in an arnount exceeding $640,000.

   54. Defendants consciously and deliberately engaged in oppression, fraud, wantonness, or

malice with regard to KEPRO,entitling KEPRO to recover punitive damages.

   55. Defendants' fraudulent behavior was egregious, gross, and oppressive, with the intent to

benefit Defendants to the detriment and harm of KEPRO. KEPRO is therefore entitled to

recover its reasonable attorneys fees and expenses of litigation.

                                         COUNT II
                                     CIVIL CONSPIRACY

   56. Plaintiff KEPRO incorporates by reference the allegations in paragraphs 1 — 55, above..

   57. Defendants Analytics Holdings, HDI, and DiBenedetto conspired and reached an

understanding among themselves to defraud DePRO in connection with the Agreement by

intentionally misrepresenting material facts and by directing and causing the Company to

misrepresent material facts to KEPRO.




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   58. As a direct result of Defendants' conspiracy to defraud KEPRO,KEPRO suffered actual

damages.

   59. Defendants are jointly and severally liable for their respective acts and the acts of each of

the co-conspirators in furtherance of the conspiracy.

                                    PRAYER FOR RELIEF

       WHEREFORE,Plaintiff KEPRO requests the Court to enter judgment in its favor

against Defendants and to enter an order for the following relief:


   a) An award of KEPRO's damages incurred as a direct and proximate result of Defendants'

       fraudulent conduct, in an amount to be proven at trial but in excess of $640,000;

   b) An award of punitive damages in an amount to be proven at trial;

   c) An award of KEPRO's reasonable attorneys fees and costs of litigation;

   d) An order holding Defendantsjointly and severally liable; and

   e) An order granting KEPRO any further or additional relief, legal or equitable, that this

       Court deems just and proper.




                            [signatures continued on following page]




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                          [signatures continued from prior page]

Respectfully submitted,


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